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                                                                  JS-6



                  UNITED STATES DISTRICT COURT
                  CENTRAL DISTRICT OF CALIFORNIA


Norman John Craig,                      CASE NO. 2:21-cv-07358-DSF (SK)
                   Petitioner,          JUDGMENT
             v.
Jim Thomas,
                   Respondent.


     Pursuant to the Order Dismissing Petition and Denying Certificate of
Appealability, IT IS ADJUDGED that this action is dismissed with
prejudice.


DATED: October 1, 2021
                                   Honorable Dale S. Fischer
                                   UNITED STATES DISTRICT JUDGE
